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             IN THE DISTRICT COURT OF THE UNITED STATES _-- q.si:_DtrrRrcr ceuRr
                                                                    DISTRICT OF TC
            FOR THE WESTERN DISTRICT OF NORTH CAROLINAEIERN
                          ASHEVILLE DIVISION
                              l:18 CR 092

UNITED STATES OF            AMERICA                 )
                                                    )
       v.                                           )     RULE 11 TNQUTRY &
                                                    )     ORDER OF ACCEPTATTCE
JAMES E. MACALPINE                                  )     oF PLEA
                                                    )

       The Court is advised that you have filed a written plea agreement with the

Government in this case. The Court is required by the Federal Rules of Criminal Procedure

to inquire and advise you concerning the         agreement. The Court must ask you some

questions and you   will   be required to personally respond to those questions under oath.   I

will now ask the Clerk to administer the oath to you.

l.     Do you understand that you are now under oath and that you are required to give
       truthful answers to the questions that I am about to ask you?

                     YES:     ,r'-                  No:

2.    Do you understand that        if   you give false information under oath you may be
      prosecuted for perjury or false statements?

                     yES: t/                        NO:

3.    Are you able to hear and understand my questions?

                     YES: ,/                        No:

4.    Do you understand that you have the right to have a United States District Judge
      conduct this proceeding?

                     YES: /                         No:




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5.    Recognizing your right to proceed before a district judge, do you expressly consent
      to proceed in this Court, that is, before a United States Magistrate Judge?

                    YES:                        NO:
                           -/
6.    a) There has been presented to me a document entitled "Sealed Addendum to Entry
      and Acceptance of Guilty Plea" which provides information to me concerning your
      name, age, education, use of drugs or alcohol and medical information. Did you
      provide the information for the completion of that document and did you sign that
      document?

                   YES: ,r/                     NO:

      b) Is all the information provided in the document true and accurate?

                   YES: ,./                     NO:

7.    Is your mind clear and do you understand that you are here today to enter a guilty
      plea that cannot later be withdrawn?

                   YES: ./                      NO:

8.    Have you and your attorney reviewed the   bill of indictment and have you and your
      attorney reviewed the plea agreement?

                   YES:    JZ                   NO:

9.    From my examination of the plea agreement I am advised that you are pleading
      guilty to Count One as contained in the Bill of Indictment.

      Read Count One of the Bill of Indictment to which Defendant is pleading guilty.
      Are you pleading guilty to that offense?

                   YES:   ./                   NO:




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The law requires that I advise you of the essential elements of such offense. Before I advise
you of those elements, I am going to read to you the statute that is alleged that you have
violated.

Count One:

26 U.S.C. S 7201. Attempt to Evade or Defeat Tax

Any person who willfully attempts in any manner to evade or defeat any tax imposed by
this title or the payment thereof shall, in addition to other penalties provided by law, be
guilty of a felony and, upon conviction thereof shall be fined not more than $100,000
($500,000 in the case of a corporation), or imprisoned not more than 5 years, or both,
together with the costs of prosecution.

                                         Elements:

       l.     That there existed a substantial tax deficiency, that is, that you owed
              taxes to the Internal Revenue Service;

       2.     That you committed an affirmative act constituting an evasion or attempted
              evasion of the tax; and

       3.     That you did so unlawfully, knowingly, intentionally and willingly.

                                         Penalties:

I am also required by law to advise you concerning the maximum and minimum penalties
prescribed by law for such an offense.

       The maximum possible penalty for this offense is a term of imprisonment for not
       more than 5 years, a fine not to exceed the sum of $250,000, or twice the gross gain
       or twice the gross loss, whichever is greatest, or both, a term of supervised release
       of not more than 3 years and a $100 special assessment.

10.    Do you understand that if you are not a citizen of the United States, your guilty plea
       may result in your deportation from this country, your exclusion from admission to
       this country, or the denial o/orx naf.xalization under federal law?
                                ,/
                     YES: W                      NO:




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11.    a)     Do you fully understand the charge against you, including the maximum and
              minimum penalties?

                       YES:                       NO:

       b)     Do you understand each element of the offense charged?

                       YES: t /                   NO:

       c)     Do you understand that upon a plea of not guilty the Government would be
              required to prove each element of the offense charged beyond a reasonable
              doubt?

                       YES:   /                   NO:

       d)     Do you understand that the Government would be required to prove that the
              unlawful act(s) were committed knowingly, willfully, intentionally, and
              unlawfully?

                       YES:                       NO:

t2.    If the Court imposes an active term of imprisonment of more than one year, the
       Court is required also to order a term of what is called "supervised release," and a
       term of supervised release may be ordered in other circumstances. This means that
       after a defendant is released from prison, there are certain terms and conditions they
       will be required to follow. The length of supervised release usually ranges from one
       to five years but may be more or less than that for certain offenses. Do you
       understand the terms "supervised release" as the Court has explained them to you?

                       YES: ,r/                  NO:

13.    Do you understand that if you violate the terms and conditions of supervised release,
       you could be returned to prison for an additional period of time?

                       YES:   JZ                 NO:

14.    Do you understand that parole has been abolished in the federal system; and if you
       are sentenced to a term of imprisonment, you will not be released on parole?

                       YES:                      NO:




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 15.    Have you and your attorney discussed how the United States Sentencing Guidelines
        may apply in your case?

                      YES:                         NO:
                             -/
t6.     Do you understand how these Guidelines may apply to you?

                      YES: ,r/                     NO:

t7.     Do you understand that the Court will not be bound by the Sentencing Guidelines
        but nonetheless must consult those Guidelines and take them into account when
        sentencing?

                      YES:                         NO:

18.     Do you understand that the sentence the Court will impose will be within the
        statutory limits and in the Court's sound discretion and could be greater or less than
        the sentence as provided for by the Guidelines?

                      YES:                         NO:

19.     Do you understand that the Court will follow the procedural components of the
        Guidelines system, which means that the Probation Office will prepare a
        presentence report which contains Guidelines calculations and both you and the
        Government will have an opportunity to object to any alleged deficiencies in the
        report?
                      YES:   JZ                    NO:

20.     Do you understand that in some circumstances you may receive a sentence that is
        different-that is, either higher or lower-than that called for by the Guidelines?

                      YES: t/                      NO:

21.     Do you understand that if the sentence is more severe than you expect, or the Court
        does not accept the Government's sentencing recommendation, you will still be
        bound by your plea and have no right to withdraw the plea of guilty?

                      YES: L/                      NO:

22.    Do you understand that the Court has the discretion, in appropriate circumstances,
       to order you to tnakc restitution to any'victim of an1' oI-fcnse. The Court rnay also,
       in the appropriatc circumstance, require you to pay the costs of your confincment in
       prison or costs of supervision or special investigative costs or all of these costs. The



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       Court may also require you to forfeit property involved in the offense. Do you
       understand these requirements as I have explained them to you?

                     YES:    /                      NO:

23.    Do you understand you have a right to plead not guilty, to have a speedy trial before
       a judge and jury, to summons witnesses to testiff in your behalf, and to confront
       witnesses against you?

                     YES: t/                        NO:

24.    Do you understand that if you exercise your right to trial you would be entitled to
       the assistance of an attorney, that you would not be required to testiff, that you
       would have the right to voluntarily testiff and to present evidence at trial, to compel
       the attendance of witnesses, that you would be presumed innocent, and the burden
       would be on the Government to prove your guilt beyond a reasonable doubt. Do you
       understand all of these rights?

                     YES:     ,/                    NO:

25.    Do you understand that by entering a plea of guilty you forfeit and waive (or give
       up) your right to plead not guilty, to a trial by jury and at that trial the right to
       assistance of counsel, the right to confront and cross-examine witnesses against you,
       the right against compelled self-incrimination, the rightto voluntarily testiff on your
       own behalf and to present evidence attrial, to compel the attendance of witnesses,
       and any other rights associated with a jury trial. Do you understand that by entering
       this plea of guilty you are waiving (or giving up) all of these rights. A trial will not
       be held. If your plea of guilty is accepted, there will be one more hearing where the
       District Court will determine what sentence to impose:

       Do you understand those things?

                     YES:   r                       NO:

26.    Are you, in fact, guilty of the count in the Bill of Indictment to which you have
       come to court today to plead guilty? That is, did you commit the act(s) described in
       Count One of the Bill of Indictment?

                     YES:                           NO:

27.    a)     Is your plea of guilty volr.rntary?

                     YES:   Z                       NO:



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       b)     Other than the promises contained in the written plea agreement, has anyone
              made any promise to you or threatened you in any way to cause youto enter
              this plea of guilty against your wishes?

                      YES:                           NO:

       c)     Do you enter this plea of guilty of your own free will, fully understanding
              what you are doing?

                      YES: ,r/                       NO:

28.    Do you understand that entering a plea of guilty to a felony charge may deprive you,
       at least for a time, of certain civil rights such as the right to vote, hold a public office,
       serve on a jury and possess a firearm?

                      YES:    tZ                     No:

29.    Is your willingness to plead guilty the result of prior discussions between your
       attorney and the attorney for the Government?

                      YES:      ,/                   NO:

30.    Have you and the Government entered into a plea agreement in regard to this case?
       [Attorney for the Government will present the terms of the agreement.]
                                     -/
                      YES: t/                        NO:


31.    Do you understand and agree with the terms of the plea agreement          as   they have just
       been explained to you?

                      YES: /                         No:

32.    Is this your signature on the plea agreement?

                      YES:                           NO:
                             -/




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33.    Have you discussed your right to appeal with your attorney, and do you understand
       the plea agreement in this case provides that you may not appeal your conviction or
       sentence or contest the same in a post-conviction proceeding unless it is on the
       grounds of prosecutorial misconduct or ineffective assistance of counsel?

                     YES:                         No:
                            -/
       Do you knowingly and willingly accept this limitation on your right to appeal and
       to file post-conviction proceedings?

                     YES:   Z                     NO:

34.    Counsel, have you reviewed each of the terms of the plea agreement with Defendant
       and are you satisfied that Defendant understands those terms?

                     YES: V/                      NO:

35.    Have you had ample time to discuss with your attorney any possible defenses that
       you may have to the charge and have you told your attorney everything that you
       want your attorney to know about this case?

                     YES: ,r/                     NO:


36.    Are you entirely satisfied with the services of your attorney?

                     YES: ,r/                     NO:

37.    Are you telling the Court that you know and understand fully what you are doing;
       that you have heard and understood all parts of this proceeding; and that you want
       the Court to accept your plea of guilty?

                     YES: V/                      NO:

38.    Do you have questions, statements, or comments to make about anything brought
       up or discussed in the course of the proceeding? If you do, I will be happy to try and
       answer your questions or I will be glad to hear any statements or comments that you
       want to make.

                     YES:                         *Or/


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       On advice and in the presence of counsel, Defendant respectfully requests the
Magistrate Judge to accept his or her guilty plea. By signing below, Defendant and counsel
certiff and affirm that the answers given to the questions propounded by the Court, as
recorded above and on the record, are true and accurate to the best of their knowledge.




                                          Counsel's Signature


       Based upon the representations and answers given by Defendant and counsel in the

foregoing Rule I I proceeding, the Court finds that Defendant's plea is knowingly and

voluntarily made; and that Defendant understands the charge, potential penalties, and

consequences of said plea. The Court fuither finds that Defendant's plea is supported by

an independent basis in fact containing each of the elements of the offense charged against

Defendant in Count One of the     Bill of Indictment. Based thereon Defendant's plea is
hereby accepted. In addition, I recommend that the District Court accept Defendant's plea

and enter judgment thereon.   If you have any objection to my recornmendation, you have

14 days to file any such objections in writing with this Court.   If you fail to object within
that 14-day period, it will be deemed a waiver of any such objection.

       So ORDERED, this the              aay   or   Ftlr'v,               2019.
                                 -f:


                                         UNITED STATES MA




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